         Case 1:16-cr-00232-RWS Document 26 Filed 10/26/23 Page 1 of 5




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA
                                                CRIMINAL ACTION NUMBER
   v.
                                                      1:16-cr-232-RWS
JAMES J. ACREE

                Government’s Motion for Downward Departure
           Based on Defendant’s Substantial Assistance to Authorities

        Pursuant to U.S.S.G. § 5K1.1, the United States hereby requests that the

Court depart from the guidelines and reduce Defendant James J. Acree’s total

offense level by three levels because he provided substantial assistance to the

government in the investigation and prosecution of James G. Maloney, who was

convicted of conspiracy to commit wire fraud and mail fraud under 18 U.S.C.

§ 1349, in Criminal Action Number 1:16-cr-237-RWS-JSA. In support of this

Motion, the government shows the following:

        On July 5, 2016, Defendant Acree waived indictment, and the government

filed a Criminal Information against him, alleging that he conspired with James

G. Maloney and James D. Fraley, III to commit wire fraud and mail fraud under

18 U.S.C. § 1349.

        Defendant Acree pleaded guilty to that charge on August 15, 2016. But his

cooperation with law enforcement began much earlier.
        Case 1:16-cr-00232-RWS Document 26 Filed 10/26/23 Page 2 of 5




      Defendant Acree’s lawyer first reached out to the government on

November 22, 2013. Defendant Acree was first interviewed by federal agents and

prosecutors on January 28, 2015.

      The government’s investigation lasted until Maloney was indicted on June

28, 2016. By that time, Defendant Acree had been cooperating with law

enforcement for 17 months.

      As part of his cooperation, Defendant Acree participated in two proffer

sessions in 2015 and 2017, as well as two pretrial interview sessions in May 2023,

when it still appeared that Maloney was headed to trial. More than eight years

elapsed between his first interview by the government and his last.

      Defendant Acree was willing to testify against Maloney and would have

testified against Maloney at trial if Maloney had not elected to plead guilty.

      From the outset, Defendant Acree admitted his involvement in the

conspiracy and explained the actions that he and his co-conspirators had taken to

defraud the United States and Georgia Tech. He also provided the government

with insight and information concerning the voluminous documents, including

the fraudulent Tec-Masters consulting agreements that he arranged and the

specific PCard purchases that he requested for his personal benefit.




                                    Page 2 of 5
           Case 1:16-cr-00232-RWS Document 26 Filed 10/26/23 Page 3 of 5




         The government believes that, in all of his proffer sessions and pretrial

interviews, Defendant Acree responded fully and truthfully to all inquiries of the

government, without falsely implicating any person or intentionally withholding

any information. The information that Defendant Acree provided was

corroborated by other witnesses and by the documents that the government

uncovered in its investigation.

         In sum, the United States believes that Defendant Acree provided

substantial assistance to prosecutors and agents in the Maloney case, and the

United States requests that the Court downwardly depart by three levels in

sentencing Defendant Acree.

         In determining whether a defendant has provided “substantial

assistance” in the investigation or prosecution of another person who has

committed an offense, the Court may consider the factors set forth in U.S.S.G.

    § 5K1.1. E.g., United States v. Jackson, No. 1:14-CR-00339-WSD, 2017 WL 1018343,

    at *1 (N.D. Ga. Mar. 16, 2017). Those factors are as follows:
.
          (1)    the court’s evaluation of the significance and usefulness of
                 the defendant’s assistance, taking into consideration the
                 government’s evaluation of the assistance rendered;

          (2)    the truthfulness, completeness, and reliability of
                 any information or testimony provided by the
                 defendant;



                                        Page 3 of 5
        Case 1:16-cr-00232-RWS Document 26 Filed 10/26/23 Page 4 of 5




       (3)    the nature and extent of the defendant’s assistance;

       (4)    any injury suffered, or any danger or risk of injury to
              the defendant or his family resulting from his
              assistance;

       (5)    the timeliness of the defendant’s assistance.

U.S.S.G. § 5K1.1; see also id. at (n.3) (“ Substantial weight should be given to the

government's evaluation of the extent of the defendant’s assistance, particularly

where the extent and value of the assistance are difficult to ascertain.”).

      WHEREFORE, the United States respectfully requests that the Court grant

its Motion for Downward Departure Based on Defendant’s Substantial

Assistance to Authorities.

                                           Respectfully submitted,

                                           Ryan K. Buchanan
                                           United States Attorney

                                           /s/ John Russell Phillips
                                           Assistant United States Attorney
                                           Georgia Bar Number 576335

                                           /s/ Stephen H. McClain
                                           Assistant United States Attorney
                                           Georgia Bar No. 143186
600 U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303
(404) 581-6000




                                     Page 4 of 5
       Case 1:16-cr-00232-RWS Document 26 Filed 10/26/23 Page 5 of 5




                          CERTIFICATE OF SERVICE

     I hereby certify that, on October 26, 2023, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system.


                                      /s/John Russell Phillips
                                      Assistant United States Attorney
                                      Georgia Bar No. 576335



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Atlanta, GA 30303
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                                    Page 5 of 5
